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 5                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE

 7
           GURNEK SINGH and PAWAN
           DEEP KAUR,
 8
                                Plaintiffs,
 9
                                                         C18-1210 TSZ
              v.
10
                                                         ORDER
           U.S. DEPARTMENT OF STATE,
11         et al.,
12                              Defendants.

13

14         THIS MATTER comes before the Court upon an action for review on an
15 administrative record.

16         Having reviewed the complaint in this matter, the Court concludes that this
17 proceeding is exempt from the initial disclosure requirements of Fed. R. Civ. P.

18 26(a)(1)(A) and the initial conference requirements of Fed. R. Civ. P. 26(f). See Fed. R.

19 Civ. P. 26(a)(1)(B)(i).

20         To facilitate entry of an appropriate scheduling order in this matter, and pursuant
21 to Fed. R. Civ. P. 16 and Local Rule CR 16, counsel are directed to confer and to file a

22 JOINT STATUS REPORT by December 4, 2018. The conference among counsel shall

23

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 1 be by direct and personal communication, whether via face-to-face meeting or telephonic

 2 conference. The Joint Status Report must contain the following information by

 3 corresponding paragraph numbers:

 4         1.      A concise statement of the positions of the parties concerning the relief

 5 requested in the complaint.

 6         2.      A summary of the procedural posture of the case and/or the status of the

 7 proceedings before the federal agency at issue, including whether final agency action has

 8 occurred or is expected to occur in the near future.

 9         3.      A proposed deadline for filing of the administrative record.

10         4.      A proposed deadline for filing of dispositive motions.

11         5.      An indication whether trial will be required in this matter and, if so, an

12 indication (i) when the matter will be ready for trial; (ii) whether such trial will be jury or

13 non-jury; and (iii) how long such trial is anticipated to take.

14         6.      An indication whether the parties agree that a full-time Magistrate Judge

15 may conduct all proceedings, including trial and the entry of judgment, under 28 U.S.C.

16 § 636(c) and Local Rule MJR 13. The Magistrate Judge who will be assigned the case is

17 The Honorable Mary Alice Theiler. Agreement in the Joint Status Report will constitute

18 the parties’ consent to referral of the case to the assigned Magistrate Judge.

19         7.      An indication whether any party wishes a scheduling conference before a

20 scheduling order is entered in this case. If the parties are unable to agree on any part of

21 the Joint Status Report, they may answer in separate paragraphs. No separate reports are

22 to be filed.

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 1         The time for filing the Joint Status Report may be extended only by court order.

 2 Any request for extension should be made by telephone to Karen Dews. If the parties

 3 wish to have a status conference with the Court at any time during the pendency of this

 4 action, they should contact Karen Dews. Finally, if this matter is resolved by further

 5 agency action or settled, the parties shall immediately notify Karen Dews at

 6 206-370-8830.

 7         This Order is issued at the outset of the case, and a copy is sent by the Clerk to

 8 counsel for plaintiff and any defendants who have appeared. Plaintiff’s counsel is

 9 directed to serve copies of this Order on all parties who appear after this Order is filed,

10 within fourteen (14) days of receipt of service of each appearance. Plaintiff’s counsel

11 will be responsible for starting the communications needed to comply with this Order.

12         Failure by any party to fully comply with this Order may result in the imposition

13 of sanctions, including dismissal of the case.

14         The Clerk is directed to send a copy of this Order to all counsel of record.

15         IT IS SO ORDERED.

16         Dated this 5th day of September, 2018.



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                                                      Thomas S. Zilly
19                                                    United States District Judge

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     ORDER - 3
